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AO 91° ‘ev. 11/11) Criminal Complaint (Rev. by USAO on 3/12/20) 4) Original © Duplicate Original
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United States of America ay 7 VR 7 DEPUTY }
Vv.

:24-mj-00605-
Marian [Julian Sandu and Lucian Ionut Nechita, Case No. 2:24-m)-00605-DUTY

Defendant(s).

CRIMINAL COMPLAINT BY TELEPHONE
OR OTHER RELIABLE ELECTRONIC MEANS

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about February 2, 2024, in the county of Los Angeles in the Central District of California, the defendant
violated:
Code Section Offense Description

18 U.S.C. § 1029(a)(2) Use of unauthorized access devices
This criminal complaint is based on these facts:

Please see attached affidavit.

Continued on the attached sheet.

Ls Z

. ¢,
Comptainant’s signature

Adam Chang, Senior Investigator
Printed name and title
Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.

Date: z / aS Zour fe CL

Judge's signature

City and state: _Los Angeles, California Hon. Own Chooljian, U.S. Magistrate Judge

Printed name and title

AUSA: Joseph De Leon (x7280)

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AFFIDAVIT
I, Adam Chang, being duly sworn, declare and state as follows:

I. PURPOSE OF AFFIDAVIT

1. This affidavit is made in support of a criminal
complaint against Marian Iulian Sandu (“SANDU”) and Lucian Tonut

NECHITA (“NECHITA”), who gave the alias of “Julio Zamora” for a

violation of 18 U.S.C. § 1029(a)(2) (use of unauthorized access
devices).
2. This affidavit is also made in support of an

application for a warrant to search the following digital
devices in the custody of the United States Secret Service
(“USSS”), in Los Angeles, California, as described in Attachment
A:

a. a Samsung cell phone retrieved from SANDU’s
person (“SUBJECT DEVICE 1%); and

b. an Apple iPhone XR retrieved from NECHITA’s
person (“SUBJECT DEVICE 2” and, collectively with SUBJECT DEVICE
1, the “SUBJECT DEVICES”).

3. The requested search warrant seeks authorization to

seize evidence, fruits, or instrumentalities of violations of
18 U.S.C. §§ 371 (Conspiracy), 1028 (Fraud and Related Activity
in Connection with Identification Documents, Authentication
Features, and Information), 1029 (Fraud and Related Activity in
Connection with Access Devices), 1344 (Bank Fraud), and 1028A
(Aggravated Identity Theft) (collectively, the “Subject

Offenses”), as described more fully in Attachment B.
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4, Attachments A and B are incorporated herein by
reference.
eI, The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and
information obtained from various law enforcement personnel and
witnesses. This affidavit is intended to show merely that there
is sufficient probable cause for the requested complaint and
search warrant, and does not purport to set forth all of my
knowledge of or investigation into this matter. Unless
specifically indicated otherwise, all conversations and
statements described in this affidavit are related in substance
and in part only.

II. BACKGROUND OF AFFIANT

6. I have been a peace officer in the State of California
for approximately 15 years. I have been an Investigator for the
Los Angeles County District Attorney’s Office for the past six
years. Before that, I was a Police Officer and later Detective
for the Burbank Police Department. I currently hold an Advanced
Peace Officer Standards and Training (POST) Certificate and a
Certificate of Completion from the Robert Presley Institute of
Criminal Investigation with a Specialty in Cybercrime
Tnvestigations. I have a Bachelor’s Degree in Political
Science/International Relations and a Master’s Degree in
Criminal Justice.

7. I graduated from the Los Angeles County Sheriff's
Department Academy in 2008, where I received basic training as a

peace officer. Since that time, I have received numerous
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additional trainings, on both internet and electronic crimes and
identity theft. I have completed the United States Secret
Service National Computer Forensics Institute’s (NCFI) Basic
Network Investigation Training (BNIT), Basic Investigation of
Computer and Electronic Crimes Program (BICEP), and Network
Intrusion Response Program (NITRO). I have also served as
proctor at NCFI in their Cyber Investigative Techniques (CIT)
course. I am a CompTIA A+ Certified Professional.

8. I have been the Investigating Officer and affiant on
numerous search warrants dealing with electronic crimes, ranging
from fraud, identity theft, network intrusions, to child sexual
abuse material investigations. Additionally, I have previously
served as an affiant for several search warrants for the seizure
of digital evidence from electronic communications providers,
such as Google, Charter Communications, Facebook, and Verizon in
cyber crime, identity theft, and child sexual abuse material
investigations. Furthermore, I have recovered digital devices,
such as computers, phones, and key loggers that were used to
commit computer crimes. Evidence obtained from those search
warrants have resulted in the identification of suspects and
yielded critical evidence needed for criminal filing and
convictions.

9. IT am currently assigned to the United States Secret
Service Cyber Fraud Task Force and the Los Angeles District
Attorney’s Cyber Investigation Response Team where we are
primarily tasked with investigating electronic crimes, to

include fraud, network intrusions, identity theft and online
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child sexual abuse material. In this capacity, I am currently
deputized as a Special Deputy United States Marshal.

IIIT. SUMMARY OF PROBABLE CAUSE

10. Between August 2022 and January 2024, the California
Department of Social Services (“DSS”) has detected more than
$100 million in stolen funds from victim Electronic Benefit
Transfer (“EBT”) cards. Much of this fraud is from two specific
programs known as CalFresh and CalWORKs, which help low-income
households pay for housing, food, and other necessary expenses.
Many of the fraudulent withdrawals are done at specific ATMs in
the Central District of California.

11. On February 1, 2024, at 5:00 a.m.!, law enforcement
conducted physical surveillance at a US Bank ATM terminal
located at 18200 Western Avenue, Gardena, which was identified
by DSS as one of the top ATM locations for EBT fraud.

12. At 7:14 a.m., law enforcement observed NECHITA at the
ATM terminal. Upon arriving at the ATM, NECHITA immediately
placed something on the ATM surveillance camera, which appeared
to have been done to conceal his actions and identity. NECHITA
withdrew approximately $2,440 from the ATM in rapid succession
using approximately four different access devices.

13. At 7:25 a.m., law enforcement observed SANDU at the
walk-up ATM terminal. SANDU withdrew approximately $1,640 in
cash from the ATM in rapid succession using approximately three

different access devices and used two additional access devices

1 Unless otherwise noted, all times are Pacific and are
approximate.
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to conduct balance inquires that were unsuccessful. At 7:30
a.m., SANDU left the ATM and walked toward a 2014 blue BMW Coupe
with a license plate number 9FEY325 (the “Subject Vehicle”). Law
enforcement identified themselves as police and attempted to
detain SANDU, but he did not listen to law enforcement commands
and instead walked quickly towards the entrance of a nearby
liquor store where he attempted to hide something on the
counter. Law enforcement detained SANDU and found five access
devices (later determined to be cloned cards encoded with the
same EBT card information SANDU used to access victim accounts
at the ATM) hidden on the counter. SANDU was arrested and found
to be in possession of $1,640 in cash and of SUBJECT DEVICE 1.

14. At 7:30 a.m., law enforcement observed NECHITA
standing next to the Subject Vehicle. As NECHITA was entering
the Subject Vehicle, law enforcement identified themselves as
police and detained NECHITA, who was carrying SUBJECT DEVICE 2.
The Subject Vehicle contained 14 different access devices (later
determined to be cloned cards) and $8,037.

IV. STATEMENT OF PROBABLE CAUSE

15. Based on my review of law enforcement reports,
conversations with other law enforcement agents, and my own

knowledge of the investigation, I am aware of the following:

A. Regulatory Background of CalFresh and CalWORKs
Programs
16. DSS is a government agency that administers several

benefit and assistance programs for residents of the State of

California. One of the assistance programs administered by DSS
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is called CalFresh (formerly known as food stamps), which helps
low-income households purchase food and household items to meet
their nutritional needs. Another assistance program
administered by DSS is called CalWORKs, which helps low-income
families with children pay for housing, food, and other
necessary expenses.

17. Residents of California that meet the criteria
established by the CalFresh or CalWORKs programs can apply
online for benefits at www.getcalfresh.org and
www.benefitscal.com. Beneficiaries apply for benefits by
submitting their income and number of dependents to determine
their benefit eligibility.

18. CalFresh and CalWORKs benefits are issued through
Electronic Benefit Transfer cards (“EBT cards”). EBT cards are
mailed to an address designated by the account holder and
function like traditional debit cards to conduct transactions.
For example, you can use an EBT card to make a purchase at a
grocery or convenient store by swiping the card at a point-of-
sale terminal.

19. The EBT cards issued under CalFresh and CalWORKs are
assigned specific Bank Identification Numbers (“BIN”). A BIN
refers to the first five digits of the account number on a debit
or credit card and can be used to identify the issuer of the
card, like DSS, which administers the CalFresh and CalWORKs
programs.

20. Benefits received through the program are typically

disbursed to EBT cardholders by DSS during the early days of
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each month. Those benefits are deposited directly from DSS into
the account of the EBT cardholder.

21. The EBT cardholders can then conduct cash withdrawals
at automated teller machines (“ATMs”) using a personal
identification number (“PIN”) established by the card holder.
The EBT cardholder presents the card at an ATM, inserts the card
into the ATM card reader, and utilizes a PIN to withdraw the
funds previously deposited by DSS intended for beneficiaries of
the CalFresh or CalWORKs programs.

A. Background on EBT Fraud in the Los Angeles Area and
Prior State and Federal Operations

22. Since in or about August 2022, local law enforcement
has been working with DSS to investigate a significant increase
in unauthorized cash withdrawals utilizing EBT cards. Based on
analysis of victim complaints to DSS, victim complaints to local
law enforcement, bank records, and surveillance, law enforcement
determined that the majority of the unauthorized cash
withdrawals were being conducted with cloned cards.

23. A cloned card can be a blank white plastic card or
another debit, credit or gift card that contains altered
information on the card’s magnetic stripe. Based on my training
and experience, I know that suspects will often clone cards by
taking stolen card information from a victim card’s magnetic
stripe and re-encode that stolen information onto another card’s
magnetic stripe. Cloning these cards allows the suspect to use
the card and the DSS benefits added on to the account linked to

the card for illicit purchases or unauthorized cash withdrawals.
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24. On a legitimate debit or credit card, the information
coded on the card’s magnetic stripe will match the information
embossed on the front of the card. This information includes
the account number, expiration date, and cardholder’s name,
among other information. Whereas on a cloned card, the
information coded on the magnetic stripe will not match the
information embossed on the front of the card. For example, if
a suspect re-encodes victim EBT card information onto a pre-
existing gift card’s magnetic stripe or a blank white plastic
card with a magnetic stripe, the magnetic stripe will be coded
with the EBT card information, but the card itself will still
bear the information of the gift card or bear no information if
it is a blank white plastic card.

25. Based on my training, experience, and participation in
this investigation, I know that the victim card data harvested
to clone cards is often obtained from what is colloquially
referred to as “skimming activity.”

26. The term “skimming” is used to describe activity that
involves unlawfully obtaining debit and credit card information
by using technological devices to surreptitiously record victim
accountholder’s debit and credit card numbers and personal
identification numbers at, for example, ATMs or point-of-sale
terminals. For example, individuals conducting ATM “skimming”
may install a skimming device into the card reader of the ATM to
record the debit or credit card numbers, as well as a camera or
keypad overlay on the ATM keypad to record the associated PIN

number. Those individuals will then return to the ATM to
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collect the card number and PIN information stored on the
installed device.

27. As described above, suspects then manufacture cloned
and fraudulent debit or credit cards that bear the victim
accountholder’s account information that was obtained from
skimming. Once that information is loaded onto another
fraudulent card (e.g., a gift card or blank plastic card),
members of the scheme then use that fraudulent card to withdraw
cash from the victim accountholder’s bank accounts or to make
purchases with the victim accountholder’s account.

28. In or about September 2022, local law enforcement
conducted a surveillance and arrest operation in the Los
Angeles, California area. This operation was planned in
response to the large number of unauthorized withdrawals
occurring at ATMs in the Los Angeles area during a short period
of time. Specifically, law enforcement had analyzed fraudulent
EBT withdrawal data and noticed a high volume of unauthorized
withdrawals on specific dates and times that coincided with the
dates when the majority of benefits are disbursed to EBT
cardholders.

29. As a result of this operation, local law enforcement
established surveillance at select ATMs that were used to
conduct a significant volume of EBT fraud. Law enforcement
surveilled those ATMs around the dates when benefits had been
disbursed, observed suspects that withdrew a high volume of
unauthorized withdrawals and that conducted those withdrawals in

rapid succession, and arrested multiple individuals believed to
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be making fraudulent withdrawals of EBT benefits. As a result,
law enforcement arrested approximately 16 suspects. All of the
arrested suspects were later determined to be citizens of
countries other than the United States who did not have
documentation to be lawfully present in the United States. All
of the individuals arrested were released from local custody
within hours of their arrest and absconded from any future
judicial proceedings.

30. In or about February 2023, in response to a further
increase in unauthorized cash withdrawals utilizing EBT cards
after the local law enforcement September 2022 operation,
federal law enforcement conducted a similar surveillance and
arrest operation in the Los Angeles, California area. Law.
enforcement established surveillance around the dates when
benefits had been disbursed at select high-volume EBT fraud
ATMs. Law enforcement arrested three suspects that withdrew a
high volume of unauthorized withdrawals and that conducted those
withdrawals in rapid succession. Two of those defendants came
to the ATM together, possessed 35 cloned EBT cards at the time
of arrest, and later analysis of historic ATM surveillance data
showed that they had made more than $190,000 in past attempted
fraudulent EBT withdrawals from a single bank since October
2022. One additional defendant possessed 269 cloned EBT cards
at the time of arrest, and later analysis of historic ATM
surveillance data showed that the defendant had made more than
$70,000 in past attempted fraudulent EBT withdrawals from a

single bank since January 2023. All three of these defendants

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were determined to be citizens of Romania, who did not have
documentation to be lawfully present in the United States. The
three arrested defendants were ordered detained pending trial by
the Hon. Karen Stevenson and Hon. Margo A. Rocconi. A federal
grand jury returned two indictments against the three defendants
for bank fraud, in violation of 18 U.S.C. § 1344; aggravated
identity theft, in violation of 18 U.S.C. § 1028A; use of
unauthorized access devices, in violation 18 U.S.C. §

1029(a) (2); and possession of unauthorized access devices, in
violation of 18 U.S.C. § 1029(a) (3), in 23-CR-O076-FLA and 23-
CR-0O077-JEW.

31. In or about March 2023, federal law enforcement
conducted another surveillance and arrest operation in the Los
Angeles, California area. Law enforcement established
surveillance around the dates when benefits had been disbursed
at select high-volume EBT fraud ATMs. Law enforcement arrested
eleven suspects that conducted a high volume of unauthorized
transactions and that conducted those transactions in rapid
succession. At the time of their arrest, the suspects had in
their possession over 400 cloned cards, $120,000 in illicitly
obtained funds, and multiple skimming devices.

32. Ten out of the eleven of these defendants were
determined to be citizens of Romania, who did not have
documentation to be lawfully present in the United States.

B. Background of Current Operation to Combat EBT Fraud

33. Data provided by DSS, based in part upon reported

fraud by victims, reported fraud to local law enforcement, bank

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records, and surveillance indicates that as of in or about
November 2023, there has been over $100 million in stolen funds
from victim EBT cards.

34. Between in or about June 2023 and in or about November
2023, more than $45.3 million has been stolen from victim EBT
cards. Of the approximately $45.3 million stolen, approximately
$17.3 million has been stolen from victim EBT cards in Los
Angeles County alone. The majority of these funds were stolen
through unauthorized ATM withdrawals.

35. Between on or about November 1, 2023, and on or about
November 5, 2023, more than $9.5 million was stolen from victim
EBT cards largely through unauthorized ATM withdrawals. Of the
approximately $9.5 million stolen from victim EBT cards in the
beginning of January 2023, more than $2.7 million was stolen,
almost entirely through unauthorized ATM withdrawals, in Los
Angeles County alone.

36. For example, between on or about November 1, 2023, and
on or about November 5, 2023, more than $129,000 was withdrawn
from ATMs at a single financial institution branch located in
Lancaster, California in Los Angeles County. The unauthorized
withdrawals conducted during these five days and at this single
bank branch affected approximately 143 victim EBT cardholders.
The dates of these withdrawals coincided with the disbursement
by DSS of EBT benefits, including CalFresh and CalWORKs.

37. Based upon my training and experience conducting
access device fraud investigations, I know that suspects

committing access device fraud schemes will often target

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particular BINs when harvesting stolen card information
collected from skimming devices. Thus, suspects using skimming
may target the BIN associated with DSS, in essence, targeting
CalFresh and CalWORKs benefits. Moreover, based upon my
training and experience, the sheer volume of unauthorized ATM
withdrawals occurring during the early days of the month is
further indicative that suspects participating in the fraud
scheme at issue are targeting EBT cards because benefits are
typically disbursed to EBT cardholders during the early days of
each month.

38. Law enforcement has also reviewed ATM surveillance
provided by financial institutions that administer EBT accounts
that relate to the fraud scheme at issue. During the
unauthorized ATM withdrawals, suspects can often be seen holding
stacks of cards and conducting withdrawals in quick succession
at one ATM. Based upon my training and experience, I know that
suspects perpetrating access device fraud schemes will often
conduct unauthorized withdrawals using cloned cards in rapid
succession at ATMs.

39. Based upon the rapid succession of unauthorized ATM
withdrawals being conducted, the fact that the cards being used
to conduct the unauthorized cash withdrawals are nearly all
cloned EBT cards, and the fact that nearly all of the
unauthorized withdrawals are happening during the early days of
the month, I believe that suspects participating in the fraud

scheme at issue are ostensibly targeting EBT cards.

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Cc. SANDU and NECHITA Committed EBT Fraud Using
Unauthorized Access Devices on February 1, 2024

40. Based upon the large dollar amount being stolen from
victim EBT cards, the number of victims impacted, the
concentration of unauthorized ATM withdrawals occurring in
particular areas, and the large number of unauthorized ATM
withdrawals occurring at singular bank locations, law
enforcement conducted a surveillance and arrest operation in
February 2024.

41. On February 1, 2024, law enforcement was conducting
physical surveillance at various bank and ATM locations
throughout Los Angeles County, including a U.S. Bank ATM
terminal located at 18200 Western Avenue, Gardena (“18200 ATM”),
which was identified as one of the top ATM locations in Los
Angeles for EBT fraud. Based on DSS fraud data, surveillance
was conducted beginning at approximately 5:00 a.m.

42. DSS reported to law enforcement that the CalFresh and
CalWORKs benefits had been disbursed into the EBT accounts at
approximately 6:00 a.m. on February 1, 2024.

43. During this surveillance, law enforcement observed an
unknown individual, later identified as NECHITA, arrive at the
18200 ATM at 7:14 a.m. NECHITA was wearing a black sweatshirt,
dark pants, and a black baseball cap. Law enforcement observed,
and US Bank confirmed, that upon arriving at the 18200 ATM,
NECHITA immediately placed something on the 18200 ATM
surveillance camera in what appeared to be an attempt to conceal

his actions and identity. Law enforcement observed, and US Bank

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confirmed, NECHITA withdrew approximately $2,440 from the 18200
ATM in rapid succession using approximately four different
access devices. One of these transactions comprised of a $740
withdrawal from the EBT account ending in 6935. At 7:18 a.m.,
law enforcement saw NECHITA leaving the 18200 ATM. Later on
February 1, 2024, law enforcement interviewed victim G.J., the
rightful owner of the EBT card ending in 6935, who stated that
she did not give anyone permission to be in possession of her
EBT card information, nor did she give anyone permission to
utilize her EBT account information to withdraw money.

44, At 7:25 a.m., law enforcement saw SANDU at the walk-up
18200 ATM terminal. SANDU was wearing a black Under Armour
sweatshirt and dark pants. Law enforcement observed, and US
Bank confirmed, that SANDU withdrew approximately $1,640 in cash
from the 18200 ATM in rapid succession using approximately three
different access devices and used two additional access devices
to conduct balance inquires that were unsuccessful. One of
these transactions comprised of a $840 withdrawal from the EBT
account ending in 4525.

A5. At 7:30 a.m., law enforcement observed SANDU leave the
18200 ATM and walk across Western Avenue toward the Subject
Vehicle. Law enforcement identified themselves as police and
attempted to detain SANDU, but he did not listen to law
enforcement commands and instead walked quickly towards the
entrance of Ted’s Liquor located at 18303 South Western Avenue,
Gardena. Law enforcement observed SANDU attempt to hide

something on the counter of the liquor store. Law enforcement

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detained SANDU and found five access devices (later determined
to be cloned cards) hidden on the counter. SANDU was arrested
and found to be in possession of $1,640 in cash and of SUBJECT
DEVICE 1.

46. Based on the date, time, ATM location, presence of
multiple, and successive ATM withdrawals on multiple EBT
cardholder accounts during a short time period, law enforcement
detained NECHITA and SANDU in order to investigate further.

47. The five cloned cards SANDU attempted to discard on
the counter of the liquor store consisted of a variety of re-
encoded prepaid cards and gift cards. The cards also had
stickers placed on them with what appeared to be, based on my
training and experience, card balances and victim PINs.

48. Approximately 14 cloned EBT cards were located in the
Subject Vehicle that NECHITA was getting into at the time he was
detained. The cloned cards consisted of a variety of re-encoded
prepaid cards and gift cards. The cards also had stickers
placed on them with what appeared to be, based on my training
and experience, card balances and victim PINs.

49. Law enforcement confirmed these were cloned EBT cards
by reading the magnetic stripe and determined through United
States Department of Agriculture Office of Inspector General
that the cards belonged to other real individuals, not NECHITA
or SANDU. Moreover, the cloned cards also were affixed with
stickers bearing victim PIN numbers that corresponded to each
cloned card and were needed in order to conduct the unauthorized

ATM withdrawals.

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50. SANDU also had approximately $1,640 in cash in his
pants pocket, which was close in value to the approximately
$1,640 in total unauthorized ATM withdrawals. US Bank ATM
surveillance photographs obtained by law enforcement also
clearly depicted NECHITA and SANDU at the ATM conducting the
unauthorized withdrawals using cloned EBT cards and directly
corroborated law enforcement’s surveillance observations.

51. When asked to identify himself, NECHITA provided the
name “Julio Zamora” and had an “International Driver’s License”
in the name “Julio Zamora” and birth date of February 7, 1981.
Identification by Immigration and Customs Enforcement (ICE) of
NECHITA is pending at this time. However, Romanian National
Police provided identification documents of NECHITA as “Lucian
Tonut Nechita.”

52. Based on my review of domestic and foreign law
enforcement database records, NECHITA was previously arrested in
Romania for organized crime and trafficking of human beings in
Romania in 2008 and was sentenced to 8 years in Romanian prison.

53. When asked to identify himself SANDU simply stated
his name was “Sandu.” A booking sheet from a DUI arrest several
weeks ago was located in the vehicle and it listed SANDU’s name
as “Marian Sandu.” This identification by Immigration and
Customs Enforcement (“ICE”) is pending at this time.

54, Based on my review of domestic and foreign law
enforcement database records, SANDU has prior arrests in
Romania, the United Kingdom, and a few weeks ago here in Los

Angeles for driving under the influence of drugs and/or alcohol.

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55. Based on my training and experience, I know that
individuals conducting access device fraud schemes will often
conceal their true identities by obtaining fictitious IDs to
enter the country illegally while evading detection by law
enforcement.

56. SUBJECT DEVICE 1 was retrieved from SANDU’s pockets
and SUBJECT DEVICE 2 was retrieved from NECHITA’s person.

57. Both NECHITA and SANDU were arrested, read their
Miranda warnings, and invoked their right to counsel.

58. Law enforcement ceased any questioning of NECHITA and
SANDU after they indicated they would like to speak with a
lawyer.

V. TRAINING AND EXPERIENCE REGARDING IDENTITY THEFT CRIMES

59. Based on my training and experience and information
obtained from other law enforcement officers who investigate
identity theft, I know the following:

a. It is common practice for individuals involved in
identity theft, bank fraud, and access device fraud crimes to
possess and use multiple digital devices at once. Such digital
devices are often used to facilitate, conduct, and track
fraudulent transactions and identity theft. Suspects often use
digital devices to perpetrate their crimes due to the relative
anonymity gained by conducting financial transactions
electronically or over the internet. They often employ digital
devices for the purposes, among others, of: (1) applying online
for fraudulent credit cards; (2) obtaining or storing personal

identification information for the purpose of establishing or

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modifying fraudulent bank accounts and/or credit card accounts;
(3) using fraudulently obtained bank accounts and/or credit card
accounts to make purchases, sometimes of further personal
information; (4) keeping records of their crimes;

(5) researching personal information, such as social security
numbers and dates of birth, for potential identity theft
victims; and (6) verifying the status of stolen access devices.

b. Oftentimes identity thieves take pictures of
items reflecting their stolen identities, including items
retrieved from stolen mail or mail matter, with their
cellphones.

Cc. It is also common for identity thieves to keep
“profiles” of victims on digital devices. Such “profiles”
contain the personal identifying information of victims, such as
names, Social Security numbers, dates of birth, driver’s license
or state identification numbers, alien registration numbers,
passport numbers, and employer or taxpayer identification
numbers. Identity thieves often keep such information in their
cars, storage units, and in their digital devices.

d. It is common for identity thieves, and
individuals engaged in bank fraud, access device fraud, and
identification document fraud to use equipment and software to
print credit and identification cards, to create magnetic strips
for credit cards, to use embossing machines to create credit
cards, to use laser printers to create checks, and to use
magnetic card readers to read and re-encode credit cards. These

types of devices are routinely kept where the person will have

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easy access to such devices, such as on their person or in their
cars or homes or storage units. Software relevant to such
schemes can also often be found on digital devices, such as
computers.

e. Based on my training and experience, I know that
individuals who participate in identity theft, bank fraud, and
access device fraud schemes often have co-conspirators, and
often maintain telephone numbers, email addresses, and other
contact information and communications involving their co-
conspirators in order to conduct their business. Oftentimes,
they do so on their digital devices. Suspects often use their
digital devices to communicate with co-conspirators by phone,
text, email, and social media, including sending photos.
Suspects may also have paper copies of such records, which they
may keep on their person or in their cars, homes, or storage
units.

£. Individuals engaged in mail and identity theft
often use multiple digital devices, which they may keep on their
person or in their cars or homes.

VI. TRAINING AND EXPERIENCE ON DIGITAL DEVICES?

60. Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

2 As used herein, the term “digital device” includes the
SUBJECT DEVICES as well as any electronic system or device
capable of storing or processing data in digital form, including
central processing units; desktop, laptop, notebook, and tablet
computers; personal digital assistants; wireless communication
devices, such as paging devices, mobile telephones, and smart
phones; digital cameras; gaming consoles; peripheral

(footnote cont’d on next page)

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know that the following electronic evidence, inter alia, is
often retrievable from digital devices:

a. Forensic methods may uncover electronic files or
remnants of such files months or even years after the files have
been downloaded, deleted, or viewed via the Internet. Normally,
when a person deletes a file on a computer, the data contained
in the file does not disappear; rather, the data remain on the
hard drive until overwritten by new data, which may only occur
after a long period of time. Similarly, files viewed on the
Internet are often automatically downloaded into a temporary
directory or cache that are only overwritten as they are
replaced with more recently downloaded or viewed content and may
also be recoverable months or years later.

b. Digital devices often contain electronic evidence
related to a crime, the device’s user, or the existence of
evidence in other locations, such as, how the device has been
used, what it has been used for, who has used it, and who has
been responsible for creating or maintaining records, documents,
programs, applications, and materials on the device. That
evidence is often stored in logs and other artifacts that are
not kept in places where the user stores files, and in places
where the user may be unaware of them. For example, recoverable
data can include evidence of deleted or edited files; recently

used tasks and processes; online nicknames and passwords in the

input/output devices, such as keyboards, printers, scanners,

monitors, and drives; related communications devices, such as
modems, routers, cables, and connections; storage media; and

security devices.

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form of configuration data stored by browser, e-mail, and chat
programs; attachment of other devices; times the device was in
use; and file creation dates and sequence.

Cc. The absence of data on a digital device may be
evidence of how the device was used, what it was used for, and
who used it. For example, showing the absence of certain
software on a device may be necessary to rebut a claim that the
device was being controlled remotely by such software.

d. Digital device users can also attempt to conceal
data by using encryption, steganography, or by using misleading
filenames and extensions. Digital devices may also contain
“booby traps” that destroy or alter data if certain procedures
are not scrupulously followed. Law enforcement continuously
develops and acquires new methods of decryption, even for
devices or data that cannot currently be decrypted.

61. Based on my training, experience, and information from
those involved in the forensic examination of digital devices, I
know that it is not always possible to search devices for data
during a search of the premises for a number of reasons,
including the following:

a. Digital data are particularly vulnerable to
inadvertent or intentional modification or destruction. Thus,
often a controlled environment with specially trained personnel
may be necessary to maintain the integrity of and to conduct a
complete and accurate analysis of data on digital devices, which
may take substantial time, particularly as to the categories of

electronic evidence referenced above. Also, there are now so

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many types of digital devices and programs that it is difficult
to bring to a search site all of the specialized manuals,
equipment, and personnel that may be required.

b. Digital devices capable of storing multiple
gigabytes are now commonplace. As an example of the amount of
data this equates to, one gigabyte can store close to 19,000
average file size (300kb) Word documents, or 614 photos with an
average size of 1.5MB.

62. Other than what has been described herein, to my
knowledge, the United States has not attempted to obtain this
data by other means.

VII. CONCLUSION

63. For all of the reasons described above, there is
probable cause to believe that NECHITA and SANDU have committed
a violation of 18 U.S.C. § 1029(a) (2) (use of unauthorized
access devices). There is also probable cause that the items to
be seized described in Attachment B will be found in a search of

the SUBJECT DEVICES as described in Attachment A.

Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
telephone on this &@<f day of
February, 2024,

TG /AONORABLE JACQUELINE CHOOLJIAN
UNITED STATES MAGISTRATE JUDGE

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